Case 17-17554-amc           Doc 83     Filed 08/04/22 Entered 08/04/22 11:34:01                Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Yvonne Bullock-Lee
       Hampton Lee                                                               CHAPTER 13
                                Debtor(s)

Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a
Quicken Loans Inc.
                              Movant                                         NO. 17-17554 AMC
               vs.

Yvonne Bullock-Lee
Hampton Lee
                                Debtor(s)                              11 U.S.C. Sections 362 and 1301

Scott Waterman
                                Trustee

                                                  ORDER

         AND NOW, this           day of               , 2022 at Philadelphia, upon consideration of Movant’s
 Motion to Approve the Partial Claim, it is ORDERED AND DECREED that:


         The Motion is granted and the Partial Claim executed on May 28, 2022 does not violate the
 automatic stay, section 362(a), nor the provisions of 11 USC § 549.




     Date: August 4, 2022
                                                                            United States Bankruptcy Judge.
